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B 203
(12/94)


                             United States Bankruptcy Court
                             _______________
                               Eastern       District Of _______________
                                                               New York



In re

     Nola Elizabeth Thacker                                                                        18-72971
                                                                                         Case No. ___________

Debtor                                                                                   Chapter _________
                                                                                                    7


              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the atto rn ey for the above-
   named debtor(s) and that compensation paid to me w ithin one year before the filing of the petition in
   bankruptcy, o r agreed to be paid to me, fo r services rendered or to be rendered on behalf o f the debto r(s)
   in contemplation of or in connection w ith the bankruptcy case is as follow s:

                                                                                                                         3,000.00
    For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

                                                                                                                           0
    Prior to the fi ling of this statem ent I have recei ved . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

                                                                                                                                       3,000.00
    Balance D ue . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

2. The source of the compensati on paid to me w as:

             X D ebtor                          O ther (specify)

3. The source of compensati on to be paid to me is:

             X D ebtor                          O ther (specify)

4. X I have not agreed to share the above-disclosed compensation w ith any other person unl ess they are
     members and associates of my law firm.

          I have agreed to share the above-disclosed compensation w ith a other person or persons w ho are not
          members or associates of my law firm. A copy of the agreement, together w ith a list of the names of
          the people sharing in the compensation, is attached.

5. In return for the above-di sclo sed fee, I have agreed to render legal service for all aspects of the bankruptcy
   case, incl uding:

   a. Analysis of the debtor' s fi nancial situati on, and renderi ng advice to the debtor i n determining w hether
      to file a petiti on in bankruptcy;

   b. Preparation and filing of any petition, schedules, statements of affairs and plan w hich may be required;

   c. Representati on of the debtor at the meeti ng of cred itors and confi rm ati on heari ng, and any adj ourn ed
      hearings thereof;
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   DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR (Continued)


   d. Representation of the debtor in adversary proceedin gs and other contested bankruptcy matters;

   e. [Other provisions as needed]




6. By agreem ent w ith the debtor(s), the above-discl osed fee does not i ncl ude the follow ing services:




                                                 CERTIFICATIO N



         I certify that the foregoing is a complete statement of any agreement or arrangement for
      paym ent to me for representati on of the debtor(s) in this bankru ptcy p ro ceedings.


        July 30, 2018
      ___________________________                    /s/ Erica T. Yitzhak
                                             ___________________________________________________
                Date                                           Signature of Attorney


                                                        The Yitzhak Law Group
                                             _____________________________________________________________
                                                                Name of law firm
